       Case 2:22-cv-04355-JFW-JEM Document 377-3 Filed 07/27/23 Page 1 of 1 Page ID
To: Ian Garner
                                       #:26401                                 D@



                                                                           but Icant deal with that stuff today


 Yeah ofc, Istill need to stop and shower, I'll be close to 4if so,
 should Ijust head straight there

 Igot stuck at my AV companies office they didn't have one of my
 checks

 I'm just going to head straight there Idon't want to come in at abad
 time


                                                 Tue, May 24 at 3:56 PM


 Jeremy is asking me to have you call him

 Urgent


 I'm in the den if needed


                                                Tue, May 24 at 11:24 PM


                                                           (OiA7e8E38&C•e-fBllF9CBi8—
                                                                                    aO38654628fBb35i5E39b)




Ok


Done


                                                Wed, May 25 at 8:35 AM


Should Iscream the tag line at the Estee Lauder event I'm working

From the camera stand




                                                Wed, May 25 at 11:24 AM


0mw back, should be there in an hr




Lmk if you want me to stop for anything                                              Exhibit         141
                                                                                     Witness: GARNER

                                                Wed, May 25 at 4:47 PM               Date 3/8/23

                                                                                     CSR #12019. Ashley Soeeyn




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